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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              LAFAYETTE DIVISION

MARY DOE and NANCY ROE,                      )
                                             )
       Plaintiffs                            )
                                             )
                      v.                     ) Cause No. 4:18-cv-00089-JEM
                                             )
PURDUE UNIVERSITY and                        )
ALYSSA ROLLOCK                               )
and KATIE SERMERSHEIM, in their official and )
individual capacities                        )
                                             )
       Defendants.                           )

        JOINT STIPULATION OF DISMISSAL AS TO PLAINTIFF MARY DOE

       Plaintiff Mary Doe, by counsel, and Defendants, The Trustees of Purdue University

(“Purdue”), Alysa Rollock, and Katie Sermersheim, by counsel, hereby file this Joint Stipulation

of Dismissal and request that the Court dismiss the above-captioned cause with prejudice only as

to Plaintiff Mary Doe pursuant to Rule 41 of the Federal Rules of Civil Procedure and the docket

entry of this Court entered on August 31, 2022 [DE 108]. The parties have entered into a

voluntary, private settlement agreement that fully and finally resolves all claims between

Plaintiff Mary Doe and all Defendants that were asserted or could have been asserted in this

cause as to Plaintiff Mary Doe, and this cause only as to Plaintiff Mary should therefore be

dismissed with prejudice.




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Dated: September 30, 2022               Respectfully submitted,

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